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                         UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH DAKOTA

                                  WESTERN DIVISION


HOLLI TELFORD personally and as                           CIV. 17-5042-JLV
assignee of the claims of Brenda
Burton,

                     Plaintiff,

   vs.
                                                                ORDER
RON A. BRADEEN, BRADEEN REAL
ESTATE, JEFF STORM, JIM
BULTSMA, JIM ASHMORE,
SOUTHERN HILLS TITLE COMPANY,
MORNINGSIDE PROPERTIES LLP,
HEARTLAND REAL ESTATE, VERYLIS
R. BOYD, WARNER C. BOYD, FALL
RIVER COUNTY SHERIFF ROBERT
EVANS and SA DANE RASMUSSEN, in
their official capacities,

                     Defendants.


         Plaintiff Holli Telford, appearing pro se, filed motions for permission to

submit electronic filings in the Case Management/Electronic Case Filing

(“CM/ECF”) system. (Dockets 6 & 7).

         Pursuant to this court’s local rules, “[d]ocuments filed by . . . pro se

parties are filed by delivering the original to the clerk within 14 days after

service on the opposing party or parties.” D.S.D. Civ. LR 5.1(B)(2)(b). Plaintiff’s

motions request the court make an exception for her in this case.

         In plaintiff’s motion she cites a case where she is a plaintiff and received

permission to file in CM/ECF from The Honorable Roberto A. Lange in the

Central Division of the United States District Court for the District of South
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Dakota. (Docket 7 at p. 1) (citing Telford v. Department of Housing and Urban

Development, et al., CIV. 16-3033).

      In reviewing plaintiff’s filing activity in her Central Division case, the

court finds plaintiff’s filing practice was abusive of the judicial process.

Plaintiff filed briefs violating the local rule on the length of briefs, D.S.D. Civ.

LR 7.1(B)(1). See CIV. 16-3033 Dockets 111, 137 & 144. Plaintiff consistently

filed attachments violating the local requirement that attachments are “only

those excerpts of [a] referenced document that are directly germane to the

matter under consideration by the court.” D.S.D. Civ. LR 7.1(B)(2) (emphasis

added); see, e.g., CIV. 16-3033 Dockets 66-1, 74-3, 127-3 & 143-1. Based on

plaintiff’s disregard for the local rules in CIV. 16-3033, the court denies her

motions to file in CM/ECF for this case. The court emphasizes to plaintiff that

justice in this case requires her to understand and follow the local rules.

      Accordingly, it is

      ORDERED that plaintiff’s motions for permission to file in CM/ECF

(Dockets 6 & 7) are denied.

      Dated June 2, 2017.

                                 BY THE COURT:

                                 /s/ Jeffrey L. Viken
                                 JEFFREY L. VIKEN
                                 CHIEF JUDGE




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